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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

JONATHAN MONSARRAT,
     Plaintiff,

        v.                                                CIVIL ACTION NO.
                                                          17-10356-PBS
BRIAN ZAIGER,
     Defendant.


                      REPORT AND RECOMMENDATION RE:
    PLAINTIFF MONSARRAT’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
                           (DOCKET ENTRY # 90)

                         MEMORANDUM AND ORDER RE:
    DEFENDANT IN COUNTERCLAIM MONSARRAT’S MOTION TO AMEND ANSWER TO
       COUNTERCLAIM BY ADDING A COUNTERCLAIM (DOCKET ENTRY # 93);
        PLAINTIFF MONSARRAT’S MOTION TO STRIKE DEFENDANT ZAIGER’S
          OPPOSITION TO THE MOTION FOR JUDGMENT ON THE PLEADINGS
                           (DOCKET ENTRY # 104)

                               August 13, 2018



BOWLER, U.S.M.J.

        Pending before this court is a motion for judgment on the

pleadings filed by plaintiff Jonathan Monsarrat (“Monsarrat”)

under Fed. R. Civ. P. 12(c) (“Rule 12(c)”) (Docket Entry # 90),

a motion to strike defendant Brian Zaiger’s (“Zaiger”)

opposition to the motion for judgment on the pleadings filed by

Monsarrat under Fed. R. Civ. P. 12(f) (“Rule 12(f)”) (Docket

Entry # 104), and a motion filed by Monsarrat to amend his

answer to the counterclaim (“MAAC”) under Fed. R. Civ. P. 15(a)

(“Rule 15”) (Docket Entry # 93).          On July 12, 2018, this court



	
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had a status conference and took the motions (Docket Entry ##

90, 93, 104) under advisement.

                         PROCEDURAL BACKGROUND

        Monsarrat initiated this action for copyright infringement

against five, unnamed Does and Zaiger as the alleged owners and

operators of Encyclopedia Dramatica (“ED”) on March 2, 2017.

(Docket Entry # 1).    Zaiger filed an answer to the complaint on

May 26, 2017, and brought a counterclaim against Monsarrat for

misrepresentation of copyright claims under 17 U.S.C. § 512(f)

(“section 512(f)”).    (Docket Entry # 24).     Monsarrat answered

the counterclaim and moved for a dismissal thereof on June 13,

2017.    (Docket Entry # 31).   On October 25, 2017, Monsarrat

filed an amended complaint, naming Zaiger as the sole defendant.

(Docket Entry # 58).

        Zaiger moved to dismiss the amended complaint on October

30, 2017 (Docket Entry # 59) and, on December 21, 2017, the

district judge allowed Zaiger’s motion to dismiss, finding

Monsarrat’s claims were time barred.      (Docket Entry # 79).

Zaiger’s counterclaim under section 512(f) remains.         One month

later, Monsarrat filed the Rule 12(c) motion for a judgment on

the counterclaim, which is currently pending before this court.

(Docket Entry # 90).

        The counterclaim under section 512(f) sets forth one cause

of action:    misrepresentation of copyright claims under the

                                   2
	
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Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. 512.

(Docket Entry # 24).       Monsarrat argues that the claim fails

because there was no injury and that the claim was

insufficiently pled under Fed. R. Civ. P. 9.           (Docket Entry #

90).    Represented by counsel, Zaiger filed an opposition to

Monsarrat’s motion for judgment on the pleadings and submits

that the harm suffered includes the infringement of his First

Amendment rights to free speech from a deprivation of the

ability to publish the page.        (Docket Entry # 96).

       On February 12, 2018, Monsarrat filed the motion to strike

Zaiger’s opposition to Monsarrat’s motion for judgment on the

pleadings under Rule 12(f).        (Docket Entry # 104).      Monsarrat

contends that Zaiger improperly used the pleading to launch

scandalous attacks to unnecessarily impugn Monsarrat’s moral

character.     The motion to strike also requests that this court

admonish Zaiger’s counsel to comply with the Massachusetts Rules

of Professional Conduct, specifically Rule 3.1 (meritorious

claims and contentions) and Rule 3.3 (candor toward the court).

Still represented by counsel, Zaiger filed an opposition to the

Rule 12(f) motion to strike, arguing that each statement is

material.     (Docket Entry # 111).

       On January 30, 2018, Monsarrat filed the motion (Docket

Entry # 93) to amend his original answer (Docket Entry # 31) to

Zaiger’s answer and counterclaim (Docket Entry # 24) by adding a

                                      3
	
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counterclaim for defamation against Zaiger (Docket Entry # 93-

1).   (Docket Entry ## 93, 94).      Zaiger opposes Monsarrat’s MAAC

as procedurally improper and submits that the defamation claim

is futile.1    (Document Entry # 107).      On May 22, 2018, Monsarrat

filed a reply to Zaiger’s opposition to Monsarrat’s MAAC.

(Document Entry # 138).

      In the meantime, on March 30, 2018, the district judge

denied a motion for attorney’s fees and costs sought by Zaiger

under 17 U.S.C. § 505.      (Docket Entry # 124).      On May 8, 2018,

Zaiger’s counsel moved to withdraw their appearance in light of

a breakdown of their attorney-client relationship with Zaiger

“due to [a] persistent failure of . . . Zaiger to communicate”

with them.    (Docket Entry # 130).      Counsel supported the motion

with an affidavit attesting to Zaiger’s repeated failure to

remain in communication with counsel.         (Docket Entry # 130-1).

Zaiger’s counsel appeared at a scheduled May 18, 2018 status

conference, during which this court ordered counsel to mail the

client file to Zaiger, return receipt requested, and include in

that mailing a docket sheet highlighting the status conference



																																																								
              1      Monsarrat filed the motion prior to the close of
discovery and the filing of a summary judgment motion as well as
within the deadline to file a motion to amend. (Docket Entry #
85); see generally Somascan, Inc. v. Philips Med. Sys.
Nederland, B.V., 714 F.3d 62, 64 (1st Cir. 2013) (setting out
futility standard if motion to amend filed after discovery and
summary judgment motion).
                                     4
	
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set for June 18, 2009.    (Docket Entry # 135).      This court also

allowed the motion to withdraw at the hearing.

     In a formal notice of withdrawal filed by Zaiger’s counsel

on May 25, 2018, counsel avers that, under his direction, a copy

of the file was mailed to “Zaiger at his last known address, 4

Davis Street, Apartment 3, Beverly, Massachusetts” by certified

first class mail with a return receipt requested.         (Docket Entry

# 139-1).   Zaiger’s conduct thereafter evidences, inter alia, a

disregard for court operations.      On June 15, 2018, rulings

mailed to Zaiger’s address of record in Beverly were returned to

the court marked “undeliverable.”      (Docket Entry # 140).      As a

result, this court canceled the status conference scheduled for

June 18, 2018.   On June 27, 2018, the Clerk again mailed a copy

of the aforementioned rulings along with a notice of a July 12,

2018 status conference by certified mail to plaintiff at his

Beverly address of record and to a different address obtained

from an original affidavit of service (Docket Entry # 14).

(Docket Entry # 143).    Both notices were returned to the court

marked “undeliverable.”    (Docket Entry ## 144, 146).       Zaiger did

not appear at the July 12, 2018 conference, at which time this

court took the aforementioned motions (Docket Entry ## 90, 93,

104) under advisement.

     On July 20, 2018, this court issued an Order to Zaiger to

show cause why this court should not allow the motion for

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judgment on the pleadings (Docket Entry # 90) and/or dismiss the

counterclaim (Docket Entry # 24) for want of prosecution.

(Docket Entry # 147).     The Order additionally instructed Zaiger

to provide an accurate address.       More notably, the Order warned

Zaiger that a failure to comply with this Order in full “may

result in sanctions, including allowing the motion and/or

dismissing the counterclaim.”      (Docket Entry # 147).      The Clerk

mailed the Order to Zaiger by first class certified mail, return

receipt requested, to each address.       The mailing to the Salem

address was returned marked “undeliverable.”         To date, the

mailing to the Beverly address has not been returned.

I.   Dismissal of Counterclaim

      Zaiger’s conduct exhibits a studied disregard of the court

process and this litigation.      For the following reasons, a

dismissal of the counterclaim without prejudice for want of

prosecution is appropriate.

      First and foremost, ‘‘the effective administration of

justice requires that trial courts possess the capability to

manage their own affairs.’’      Chamorro v. Puerto Rican Cars, Inc.,
304 F.3d 1, 4 (1st Cir. 2002); accord Vázquez-Rijos v. Anhang, 654

F.3d 122, 127 (1st Cir. 2011) (‘‘to operate effectively and

administer justice properly, courts must have the leeway ‘to

establish orderly processes and manage their own affairs’’’).

Further, ‘‘The authority to order dismissal in appropriate cases

is a necessary component of that capability.’’         Chamorro v.

                                    6
	
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Puerto Rican Cars, Inc., 304 F.3d at 4.        Federal Rule of Civil

Procedure 41(b) reinforces and augments this ‘‘inherent power of

trial courts to dismiss cases for want of prosecution or

disregard of judicial orders.’’      Id.

     Dismissal is nonetheless ‘‘one of the most draconian

sanctions’’ and ordinarily employed ‘‘‘only when a plaintiff’s

misconduct is extreme.’’’     Vázquez-Rijos v. Anhang, 654 F.3d at

127 (quoting Young v. Gordon, 330 F.3d 76, 81 (1st Cir. 2003)).

It is customarily appropriate only after the court determines

‘‘‘that none of the lesser sanctions available’’’ are

appropriate.    Malot v. Dorado Beach Cottages Associates, 478 F.3d
40, 44 (1st Cir. 2007).    Factors to consider include ‘‘‘the

severity of the violation, the legitimacy of the party’s excuse,

repetition of violations, the deliberateness vel non of the

misconduct, mitigating excuses, prejudice to the other side and

to the operations of the court, and the adequacy of lesser

sanctions.’’’   Id. (quoting Benitez-Garcia v. Gonzalez-Vega, 468

F.3d 1, 5 (1st Cir. 2006)).     It is also appropriate to consider

whether the recalcitrant party received notice and an opportunity

to be heard.    Id.
     Here, although the time span is relatively brief, Zaiger

disobeyed the show cause order and ignored the warning that a

failure to file a response may result in dismissal.          See Vázquez-

Rijos v. Anhang, 654 F.3d at 128 (‘‘we have upheld dismissals for
‘extremely protracted inaction (measured in years), disobedience

of court orders, ignorance of warnings, [and] contumacious

conduct’’’); Malot v. Dorado Beach Cottages Associates, 478 F.3d

                                    7
	
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at 44 (noting that ‘‘disregard of court orders qualifies as

extreme behavior, and we do not take such insolence lightly’’).

He also failed to appear at two court conferences thereby

negatively impacting the court’s ability to proceed with this

litigation.   See Malot v. Dorado Beach Cottages Associates, 478

F.3d at 44 (noting prejudice to court operations as a factor).

He offers no excuse for the conduct.      The repeated nature of the

conduct tracks Zaiger’s prior, repeated lack of communication

over a longer period of time with counsel.        Combined, it leads to

a finding by this court of deliberate conduct.        Although there

exists a ‘‘‘strong presumption in favor of deciding cases on the

merits,’’’ García-Perez v. Hosp. Metropolitano, 597 F.3d 6, 7 (1st
Cir. 2010), Zaiger’s conduct evidences a lack of interest in

prosecuting this action.    Having received the show cause order

notifying Monsarrat of the possibility of a dismissal of the

counterclaim, he does not identify any prejudice to him resulting

from a dismissal of the counterclaim.

     The lesser sanction of a dismissal without prejudice of the

counterclaim rather than a dismissal with prejudice, however, is

more appropriate.   See Benitez-Garcia v. Gonzalez-Vega, 468 F.3d
at 4 (dismissal with prejudice ordinarily ‘‘reserved for cases of

‘extremely protracted inaction (measured in years), disobedience

of court orders, ignorance of warnings, contumacious conduct, or

some other aggravating circumstance’’’).       Considering the

totality of events, see Vázquez-Rijos v. Anhang, 654 F.3d at 127

(‘‘court ‘should consider the totality of events’’’ when choosing

a sanction), including the prejudice to Monsarrat, a dismissal

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without prejudice is warranted.        Other sanctions are not as

effective or appropriate.       Awarding attorney’s fees is likely

ineffective because Zaiger’s counsel filed a notice of a lien to

recoup their reasonable fees and costs thereby indicating an

inability to collect their fees.         (Docket Entry # 134).     Finally,

Zaiger’s lack of contact with the court and former counsel

renders holding him in contempt problematic.          See generally Malot

v. Dorado Beach Cottages Associates, 478 F.3d at 45 (listing

alternative sanctions to consider such as ‘‘awarding attorney’s

fees, and holding the disobedient party in contempt’’).

II.   Motion to Amend

      Monsarrat seeks to amend his answer to Zaiger’s

counterclaim by adding a counterclaim for defamation.           Zaiger

objects on a number of grounds including futility.

      Although “amending a pleading to add a counterclaim was

formerly governed by Rule 13, that changed in 2009 so that Rule

15 is now the sole rule governing amendment of a pleading to add

a counterclaim.”     Stone v. Sutton View Capital, LLC, No. 17-CV-

1574 (VEC), 2017 WL 6311692, at *2 (S.D.N.Y. Dec. 8, 2017).

Ordinarily, leave to amend “‘is freely given when justice so

requires’” absent an adequate basis to deny amendment such as

futility, bad faith, undue delay or a dilatory motive.            Maine

State Building and Construction Trades Council, AFLCIO v. United

States Department of Labor, 359 F.3d 14, 19 (1st Cir. 2004);

Glassman v. Computervision Corp., 90 F.3d 617, 622 (1st Cir.

                                     9
	
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1996).   “An amendment is futile if it could not withstand a Rule

12(b)(6) motion to dismiss.”        Menard v. CSX Transp., Inc., 2012

WL 13372, *5 (D. Mass. Jan. 3, 2012); accord Rife v. One W.

Bank, F.S.B., 873 F.3d 17, 21 (1st Cir. 2017) (“‘(f)utility’

means that the complaint, as amended, would fail to state a

claim upon which relief could be granted”).           To survive a Rule

12(b)(6) motion to dismiss, the proposed counterclaim must

include factual allegations that when taken as true demonstrate

a plausible claim to relief even if actual proof of the facts is

improbable.    See Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

555-58 (2007).     Thus, while “not equivalent to a probability

requirement, the plausibility standard asks for more than a

sheer possibility that a defendant has acted unlawfully.”

Boroian v. Mueller, 616 F.3d 60, 65 (1st Cir. 2010) (internal

quotation marks omitted).       “[A]ccepting as true all well-pleaded

facts in the complaint and making all reasonable inferences in

the plaintiff’s favor,” id. at 64, the “factual allegations

‘must be enough to raise a right to relief above the speculative

level.’”    Gorelik v. Costin, 605 F.3d 118, 121 (1st Cir. 2010).

                           FACTUAL BACKGROUND2



																																																								
              2      With the exception of a newspaper article (Docket Entry #
107-9), the facts are taken from Monsarrat’s proposed
counterclaim (Docket Entry # 93-1), an article, and a revised
version of the article (Docket Entry # 61).

                                      10
	
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      Monsarrat, a resident of Massachusetts, is a video game

entrepreneur.     He is in the process of developing an internet,

interactive video game that will be marketed to young people

including teenagers of both sexes.         (Docket Entry # 93-1).

Monsarrat holds a bachelor of science degree in electrical

engineering and computer science from the Massachusetts

Institute of Technology (“MIT”) and a master’s degree in

business administration from MIT’s Sloan School of Management.

(Docket Entry # 93-1).

      In or around 2011 or 2012, Zaiger was the owner and website

administrator of the ED website and in charge of ED staff,

social media, advertising, and accounting.          (Docket Entry # 93-

1).   Zaiger made postings on ED using various pseudonym

usernames including “Mantequilla.”         (Docket Entry # 93-1).      The

proposed counterclaim describes ED as a site similar in form to

Wikipedia, whereby the website acts as a platform for users to

write and post articles.       (Docket Entry # 93-1).      In function,

however, ED hosts a “trolling culture” of anonymous, offensive

content “calculated to offend.”        (Docket Entry # 93-1).

      At the time, the website stated that neither lawsuits for

defamation nor takedown requests under the DMCA could affect

operation of ED and that the website is “physically located

somewhere between Nigeria and Romania and . . . [is bound by] no

legislation regarding international copyright.”           (Docket Entry #

                                     11
	
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93-1).   ED did not disclose publicly accessible domain

registration records of the identity and location of Zaiger.

(Docket Entry # 93-1).      The terms of service stated that a user

who accesses the website and makes a posting thereby grants the

website a license over the posting for commercial purposes,

including but not limited to the promotion of ED products or

third-party products or services.          (Docket Entry # 93-1).

      As of January 2011, Edrama, LLC was the registered agent

for ED and designated to receive notifications of claimed

infringement.     (Docket Entry # 93-1).       At no time thereafter has

ED had a 17 U.S.C. § 512(c)(2) required, designated agent to

receive notifications of claimed infringement.           ED does not

maintain permanent records of the email address, IP address, or

other contact information of a user who makes a posting to the

website.    (Docket Entry # 93-1).

      Sometime in or around 2008, an anonymous user of ED posted

content that eventually developed into an article entitled

“Jonmon.”    The article included photographs and several headings

and paragraphs that included criticism and allegations that

Monsarrat regularly engaged in pedophilic and harassing

behavior.    (Docket Entry ## 61, 93-1).3        One photograph in the


																																																								
              3      The counterclaim quotes excerpts from the article as well
a revised version of the article, references the docket entry
containing the article and the revised version, and states that
the “article is in the record” and “remains under seal.”
                                      12
	
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article was an alteration of a photograph taken of Monsarrat at

a June 2, 2000 MIT graduation ceremony, where Monsarrat was

dressed in the MIT mascot beaver costume as a volunteer

performer and guide.    (Docket Entry # 93-1).      Monsarrat posed

with a father and his two young daughters.        Monsarrat’s beaver

costume included a t-shirt with the letters “MIT” on its chest.

The altered version of the photograph superimposed a bear

costume with a t-shirt with the letters “PDB” on its chest over

Monsarrat’s beaver costume.     (Docket Entry # 93-1).       The

combination of these letters on the shirt of a bear costume

supposedly represent a pedophilic bear (“pedobear”) associated

with bait used by pedophiles to lure young children.          (Docket

Entry # 93-1).   Under the altered version of the photograph was

the caption “Jonmon suits up to express his inner self.”

(Docket Entry # 93-1).

     One section entitled “Match-Up Debacle” discussed

allegations of Monsarrat matching himself with users of a dating

application he created and included a link to a Harvard Law

Record article on the alleged misuse.       (Docket Entry # 61).

This section included excerpted text from messages Monsarrat


																																																								
(Docket Entry # 93-1, n.1). Monsarrat therefore correctly
states that the proposed counterclaim includes “the October 31,
2011 Jonmon article” (Docket Entry # 138, p. 3). See Jaundoo v.
Clarke, 690 F. Supp. 2d at 22 (noting that court may consider
“‘documents sufficiently referred to in the complaint’” in
context of motion to amend based on futility).
                                   13
	
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sent to a user he matched with through his alleged misuse.

Another section entitled “Cries for Attention” referenced an

incident in January 2010, when Monsarrat was arrested after

hosting a party and charged with disorderly conduct and

providing alcohol to minors.        (Docket Entry # 61).      The charges

against Monsarrat were dismissed.          This section included a link

to a Wicked Local article on the alleged incident.4

      The bottom of the Jonmon article provided links to

Monsarrat’s personal “prank” website and alleged that Monsarrat

attempts to lure children through this website.            The article

also encouraged those who visited ED to “troll” Monsarrat, alert

the press about Monsarrat so other websites would produce

articles about Monsarrat, and contact “Perverted Justice and

Chris Hanson to ask them to work their ebephile-busting [sic]

magic on [Monsarrat] . . ..”        (Docket Entry # 93-1).       Monsarrat

describes “trolling” as “internet postings or online harassment

seeking to destroy a person’s reputation with hateful untrue

statements.”    (Docket Entry # 93-1).

      At an undetermined time in 2011, the Jonmon article was

taken down from ED.      As of October 201l, Zaiger granted rights

to porn websites, including F*ckbook.comTM, to post pornographic


																																																								
              4      Monsarrat believes that this statement is libelous per se
because it accuses Monsarrat of criminal offenses under section
34 of Massachusetts General Laws chapter 138 (“section 34”),
which prohibits serving alcohol to minors.
                                      14
	
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advertisements on ED pages.5       (Docket Entry # 93-1).       On October

31, 2011, username “Mantequilla,” a username associated with

Zaiger’s activities on ED as an administrator, republished a

revised version of the Jonmon article.          (Docket Entry # 93-1).

The revised version omitted all photographs except the pedobear

image.   The revised version also omitted the original pedobear

image caption “Jonmon suits up to express his inner self.”

(Docket Entry # 61).      The caption of a previous photograph, “Jon

Monsarrat reveals his core problem,” was left to describe the

pedobear image.     (Docket Entry # 93-1).       The new page included a

new statement, “PedoJon is alive and well!,” and an

advertisement for F*ckbook.comTM with five pornographic images,

three of which appeared to be very young females.6            (Docket Entry

## 93-1, 61).

      At an undetermined time thereafter, the entire ED website

was shut down.     Sometime in 2012, Zaiger caused or directed the

recreation of the ED website and, sometime on or before October

22, 2012, Zaiger republished the October 31, 2011 Jonmon

article.    (Docket Entry # 93-1).        In May 2013, Monsarrat sent a



																																																								
              5      Information in this paragraph was presented to the court
in a filing that is now sealed. (Docket Entry # 61).	
              6      Monsarrat believes that the pedobear image with the
subsequently added caption “Jon Monsarrat reveals his core
problem” and the subsequently added statement, “PedoJon is alive
and well,” insinuates that Monsarrat is a pedophile and is
contextually libelous. (Docket Entry # 93-1).	
                                     15
	
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takedown demand to ED’s Romanian agent complaining that the

Jonmon article alleged Monsarrat had committed criminal

offenses.7    (Docket Entry # 93-1).       The registered internet

protocol (“IP”) address for ED and the server providing access

to ED both belonged to Cloudflare, Inc. (“Cloudflare”), a

Delaware corporation.      Cloudflare has continuously provided the

authoritative name servers for Zaiger’s website, acting as a

“middleman” that sits between the ED website and users who

interact by providing a “pass-through security service” without

access to or control over the content on ED.           (Docket Entry #

93-1).

      Subsequent to Monsarrat filing this lawsuit in March 2017,

Zaiger, or someone acting at his direction, created a

fundraising page.     (Docket Entry # 93-1).       The page included

text and an accompanying video presentation, wherein Zaiger

identified himself as an administrator of the ED website,

seeking contributions to the “Encyclopedia Dramatica Legal

Defense Fund” (“EDLDF”).       (Docket Entry # 93-1, ¶ 49).        The video

was also made available on YoutubeTM.

      In the page, Zaiger made the following remarks about

Monsarrat:    “Jonathan Monsarrat got arrested for hosting a party



																																																								
              7      It is unclear whether this party is a registered agent of
ED assigned to receive notifications of claimed copyright
infringement.
                                      16
	
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where underage teenage kids were drinking alcohol.             A grown man

throwing a party where underage kids are drinking?             Getting a

little fun poked at him is probably a fair penalty for that.”8

(Docket Entry # 93-1, ¶ 52) (internal quotation marks omitted);

(Docket Entry # 107-8).9       The page also provided a link to a

February 9, 2010 Boston Globe article, “Somerville artist

arrested for hosting party where minors found drinking,” which

detailed the January 2010 incident where Monsarrat was arrested

after hosting a party and charged with disorderly conduct and

providing alcohol to minors.        (Docket Entry # 107-9).10


																																																								
              8      It is unclear whether this statement was published
outside the EDLDF material. Monsarrat believes this statement
is libelous per se because it accuses Monsarrat of criminal
offenses under section 34. Monsarrat further believes Zaiger
knew the published statements about Monsarrat described above
were false, or that the statements were made with reckless
disregard of the truth. (Docket Entry # 93-1).
              9      The counterclaim includes a link to the EDLDF page and
quotes the above, purportedly defamatory statements. (Docket
Entry # 93-1, ¶¶ 49, 52). The EDLDF page, which Zaiger provides
as an exhibit (Docket Entry # 107-8), is therefore incorporated
by reference into the counterclaim or, alternatively,
sufficiently referred to in the counterclaim and central to the
defamation claim. See Claudio-De Leon v. Sistema Universitario
Ana G. Mendez, 775 F.3d at 46 (“we, like the district court, may
consider . . . ‘documents central to plaintiffs’ claim,’ and
‘documents sufficiently referred to in the complaint’”); Jaundoo
v. Clarke, 690 F. Supp. 2d at 22 (recognizing, in context of
motion to amend based on futility, that court may not consider
documents “outside of the [proposed amended] complaint, or not
expressly incorporated therein” unless they fall within an
“exception ‘for documents sufficiently referred to in the
complaint’”) (brackets in original and emphasis added).
              10       The EDLDF page (Docket Entry # 93-1, ¶ 49) (Docket Entry
# 107-8) links to a Boston Globe article, which Zaiger attaches
as an exhibit to the opposition to the motion to amend (Docket
                                      17
	
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     In the spring of 2017, Mantequilla took down the JonMon

article from the ED website.      In April and May of 2017, Zaiger

admitted he was Mantequilla through his emails and conduct.

(Docket Entry # 93-1).     The online presence of the statements

and insinuations in Zaiger’s October 31, 2011 Jonmon article,

even after having been taken down from ED, and the publications

associated with the EDLDF continue to affect Monsarrat’s




																																																								
Entry # 107-9). Monsarrat aptly acknowledges it is appropriate
to consider “‘matters susceptible of judicial notice,’” one of
several exceptions to limiting review to the complaint, in
considering the motion to amend based on futility. (Docket
Entry # 138, p. 3). Other exceptions include “‘documents the
authenticity of which are not disputed by the parties.’”
Gargano v. Liberty Intern. Underwriters, Inc., 572 F.3d 45, 47,
n.1 (1st Cir. 2009). Whereas Monsarrat may dispute the
substance of the newspaper article, he does not dispute its
authenticity. (Docket Entry # 138). In light of the above, the
Boston Globe article is therefore part of the record on the
motion to amend based on futility. Jaundoo v. Clarke, 690 F.
Supp. 2d 20, 22 (D. Mass. 2010) (recognizing, in context of
motion to amend based on futility, that court may not consider
documents “outside of the [proposed amended] complaint, or not
expressly incorporated therein” unless they fall within an
“exception ‘for documents the authenticity of which are not
disputed by the parties; . . . for documents central to the
plaintiff[’s] claim; or for documents sufficiently referred to
in the complaint’”) (brackets in original and emphasis added);
see also Leahy-Lind v. Maine Dep’t of Health & Human Servs., No.
1:13-CV-00389-GZS, 2014 WL 4681033, at *10 n.6 (D. Me. Sept. 19,
2014) (“discuss[ing] the appropriate universe of documents
before the Court on a 12(b)(6) motion to dismiss and on a
futility analysis”); see, e.g., Olsen v. Providence Journal,
Co., 261 F. Supp. 3d 362, 366 (D.R.I. 2017) (because “exhibits
the Court looks to—the published articles and video of the press
panel—are expressly referenced in the Complaint, and because the
exhibits’ authenticity has not been challenged, the Court
properly considers these documents”). 	
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fundraising efforts for video game ventures.11        (Docket Entry #

93-1).   In October 2017, an investment firm informed Monsarrat

that, after discussing the potential of working with him, they

decided to pass on investing in his opportunity because of the

negative press Monsarrat received and the potential impact that

could have on equity crowdfunding.12      (Docket Entry # 93-1).

                               DISCUSSION

     Monsarrat contends that the facts sufficiently plead

defamation based on:    (1) the October 2011 Jonmon article; (2)

the article’s 2013 republication; and (3) Zaiger’s statements

regarding Monsarrat’s arrest on January 29, 2010.         Zaiger

maintains that:   (1) the claims regarding the Jonmon article and

its republication, like the previously dismissed copyright

claims, are time barred; (2) these claims are also barred by res

judicata; (3) the claim regarding Zaiger’s statements about

Monsarrat’s arrest was true and lacked actual malice; (4) the

claims arising from the ED page are barred by section 230 of the

Communications Decency Act, 47 U.S.C. § 230; and (5) the motion



																																																								
              11       Monsarrat believes that the statements in the
fundraising material for the EDLDF were “falsely, maliciously,
and intentionally published by Zaiger with intent to cause harm
to Monsarrat and that said statements adversely affect
Monsarrat’s reputation.” (Docket Entry # 93-1).
              12       Monsarrat posits that he suffered damage to his
reputation and his business as well as emotional distress as a
direct and proximate result of Zaiger’s statements and
publications.
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to amend is improper under Fed. R. Civ. P. 13 (“Rule 13”).

(Docket Entry # 107)

     Modern defamation law is a balance of common law doctrine

and constitutional protection of free speech.        See Ayyadurai v.

Floor64, Inc., 270 F. Supp. 3d 343, 354-55 (D. Mass. 2017),

appeal docketed, (1st Cir. Oct. 12, 2017) (No. 17-1991).          “Under

Massachusetts law, ‘defamation is the publication, either orally

or in writing, of a statement concerning the plaintiff which is

false and causes damage to the plaintiff.’”        Id. at 355 (quoting

Yohe v. Nugent, 321 F.3d 35, 39-40 (1st Cir. 2003)).

     Defamation claims have four elements:        “(1) that ‘[t]he

defendant made a statement, concerning the plaintiff, to a third

party’; (2) that the statement was defamatory such that it

‘could damage the plaintiff’s reputation in the community’; (3)

that ‘[t]he defendant was at fault in making the statement’; and

(4) that ‘[t]he statement either caused the plaintiff economic

loss . . . or is actionable without proof of economic

loss.’”   Shay v. Walters, 702 F.3d 76, 81 (1st Cir. 2012)

(quoting Ravnikar v. Bogojavlensky, 782 N.E.2d 508, 510-11

(Mass. 2003)); see also IBX JETS, LLC v. Sullivan, Civil Action

No. 16-11604-IT, 2018 WL 118752, at *3 (D. Mass. March 7, 2018).

     An action for defamation must be commenced within three

years after the cause of action accrues.        Mass. Gen. Laws ch.

260, § 4.   Ordinarily, “‘the cause of action accrues, and the

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statute of limitations begins to run, on publication of the

defamatory statement.’”     Harrington v. Costello, 7 N.E.3d 449,

453 (Mass. 2014) (quoting Flynn v. Associated Press, 519 N.E.2d

1304 (Mass. 1988)).    Statements communicated to a third party

qualify as a publication.     Id., 7 N.E.3d at 454.

     In Massachusetts, the discovery rule “operates to toll a

limitations period until a prospective plaintiff learns or

should have learned that he has been injured.”         Albrecht v.

Clifford, 767 N.E.2d 42, 49 (Mass. 2002).        The plaintiff must

also discover or reasonably should have discovered that “the

defendant is the person who caused the harm.”        Harrington v.

Costello, 7 N.E.3d at 455.     The discovery rule “may arise in

three circumstances:    where a misrepresentation concerns a fact

that was ‘inherently unknowable’ to the injured party, where a

wrongdoer breached some duty of disclosure, or where a wrongdoer

concealed the existence of a cause of action through some

affirmative act done with the intent to deceive.”         Albrecht v.

Clifford, 767 N.E.2d at 49; accord Creative Playthings

Franchising, Corp. v. Reiser, 978 N.E.2d 765, 770 (Mass. 2012).

As to the first instance and absent actual knowledge, “[t]he

factual basis of a cause of action is inherently unknowable if

it is incapable of detection by the wronged party through the

exercise of reasonable diligence.”       Geo. Knight & Company, Inc.

v. Watson Wyatt & Company, 170 F.3d 210, 213 (1st Cir. 1999)

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(internal quotation marks omitted).       “Plaintiffs who assert that

their cases should not be barred by the statute of limitations

have the burden of demonstrating that they did not know of the

defect within the statute of limitations and that ‘in the

exercise of reasonable diligence, they should not have known.’”

Albrecht v. Clifford, 767 N.E.2d at 49 (citation omitted).

     Knowledge that the injury was caused by the defendant

relates to those issues pertaining to the causal relation

between the tortious conduct in question and the resultant

injury.   Id.   Implicit in knowing whether or not the defendant’s

conduct caused the harm is knowledge of the responsible party’s

identity.   Id.   Accordingly, as explained by the Massachusetts

Supreme Judicial Court in Harrington, “[A] more precise way to

state the discovery rule is the following:        a cause of action

accrues when the plaintiff discovers or with reasonable

diligence should have discovered that (1) he has suffered harm;

(2) his harm was caused by the conduct of another; and (3) the

defendant is the person who caused that harm.”         Harrington v.

Costello, 7 N.E.3d at 455.

     In the case at bar, Monsarrat argues that his inability to

discern the identity of Zaiger forestalled the accrual of the

defamation action until Zaiger “admitted he was Mantequilla” by

his emails and conduct in the spring of 2017, four years after

the 2013 republication of the Jonmon page and six years after

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the 2011 initial publication of the Jonmon page.             (Docket Entry

# 93-1, ¶¶ 47-48) (Docket Entry # 94, pp. 5-6).           Monsarrat

contends that although he knew he had been harmed by the October

31, 2011 Jonmon article, whether or not the harm had been caused

by Zaiger was unknowable.        (Docket Entry # 93-1, ¶ 44) (Docket

Entry # 94, pp. 5-6).       Monsarrat acknowledges that had he filed

a John Doe suit in 2013, “a subpoena to Cloudflare presumably

would have revealed that Zaiger was the owner or operator of

the” ED website.      (Docket Entry # 93-1, ¶ 44) (Docket Entry # 94,

p. 5).    He explains, however, that because Cloudflare does not

have an email address or IP addresses of users who make postings

on the ED website, the issuance of a subpoena in 2013 seeking

records to identify “Mantequilla” would have been “fruitless.”

(Docket Entry # 93-1), ¶¶ 44-45) (Docket Entry # 94, p. 5).13

      The record shows that Monsarrat was aware that the username

Mantequilla had republished an altered version of the Jonmon

article in 2011 and 2013.        (Docket Entry # 93-1).       The record is

otherwise “devoid of evidence” that Monsarrat attempted,

“diligently or otherwise, to discover” the identity of

Mantequilla.     See Catrone, 929 F.2d at 887; (Docket Entry # 93-

1).   Monsarrat concedes that had he filed a John Doe suit in

2013, a subpoena to Cloudflare would have revealed that Zaiger


																																																								
              13       Zaiger disputes that the identity of “Mantequilla” was
unknowable. (Docket Entry # 107).
                                      23
	
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was the owner or operator of the ED website.           (Docket Entry #

93-1).   But Monsarrat did not take even these steps towards

discovering the identity of Mantequilla.          (Docket Entry # 93-1).

The fact that Cloudflare does not possess a permanent record of

the email or IP addresses of users who make postings on the ED

website does not avoid the claim’s untimeliness because

Monsarrat did not show he exhibited reasonable diligence that

would toll the statute of limitations.         Consequently, had

Monsarrat subpoenaed ED regarding the identity of Mantequilla,

Zaiger himself would have answered the subpoena as owner and

operator of ED.     (Docket Entry # 93-1).

      Finally, the record does not show that Zaiger took actions

to fraudulently conceal the existence of a cause of action or

his identity.14    See Harrington, 7 N.E.3d at 458-59; Albrecht, 67

N.E.2d at 49.     Accordingly, the defamation claims derived from

the altered publication of the Jonmon article in 2011 and its

republication in 2013 are time barred because the statute of

limitations was not tolled.       See Mass. Gen. Laws ch. 260, §§ 4,

12; Harrington, 7 N.E.3d at 455; Catrone, 929 F.2d at 887.

      Monsarrat’s remaining claim for defamation concerns

Zaiger’s statement, both in a video and in writing, that

“‘Jonathan Monsarrat got arrested for hosting a party where


																																																								
              14       Such fraudulent concealment would have tolled the
statute of limitations. See Harrington, 7 N.E.3d at 458-59.                	
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underage teenage kids were drinking alcohol.        A grown man

throwing a party where underage kids are drinking?         Getting a

little fun poked at him is probably a fair penalty for that.’”

(Docket Entry # 93-1, ¶ 52) (emphasis added).        Monsarrat asserts

this statement accuses him of criminal offenses under section 34

of Massachusetts General Laws chapter 138 (prohibition of

serving alcohol to minors) and is, therefore, libelous per se.

Zaiger argues that the statement is true and that he lacked

actual malice in making the statements.

     “To prevail on a claim of defamation, a plaintiff must

establish that the defendant was at fault for the publication of

a false statement regarding the plaintiff, capable of damaging

the plaintiff’s reputation in the community, which either caused

economic loss or is actionable without proof of economic loss.”

White v. Blue Cross & Blue Shield of Mass., Inc., 809 N.E.2d

1034, 1036 (Mass. 2004).     In order to establish that the

defamatory words were of and concerning the plaintiff:

     The plaintiff must prove either that the defendant intended
     its words to refer to the plaintiff and that they were so
     understood, or that the defendant’s words reasonably could
     be interpreted to refer to the plaintiff and that the
     defendant was negligent in publishing them in such a way
     that they could be so understood.

New England Tractor-Trailer Training of Connecticut, Inc. v.

Globe Newspaper Co., 480 N.E.2d 1005, 1012 (Mass. 1985) (“New

England Tractor-Trailer”); see N. Shore Pharm. Servs. v. Breslin


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Assocs. Consulting LLC, 491 F. Supp. 2d 111, 127 (D. Mass.

2007).     The test articulated in New England Tractor-Trailer

“poses alternative standards, the first being subjective in

nature and the second objective.”          Eyal v. Helen Broad. Corp.,

583 N.E.2d 228, 231 (Mass. 1991); see Phelan v. May Dep't Stores

Co., 819 N.E.2d 550, 554 (Mass. 2004).

       The objective inquiry focuses on whether the defendant was

negligent in publishing the defamatory statements that

reasonably could be understood to refer to the plaintiff.              New

England Tractor-Trailer, 480 N.E.2d at 1009-10.            Furthermore, it

is the reasonable recipient’s understanding of the words rather

than the speaker’s intent to refer to the plaintiff that is at

issue and it “must be read and construed in the sense in which

the readers to whom it is addressed would ordinarily understand

it.”    Id. (internal quotation marks omitted).

       “A threshold issue in a defamation action, whether a

communication is reasonably susceptible of a defamatory meaning,

is a question of law for the court and ‘[w]here the

communication is susceptible of both a defamatory and

nondefamatory meaning, a question of fact exists for the

jury.’”     Phelan v. May Dep't Stores Co., 819 N.E.2d at 554

(quoting Jones v. Taibbi, 512 N.E.2d 260, 264 (Mass. 1987)).

The objective test regarding whether or not the content of the

communication is defamatory entails “inquiry into a reasonable

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recipient’s understanding of the words rather than the speaker’s

intent.”   New England Tractor–Trailer, 480 N.E.2d at 1010.          “A

false statement that ‘would tend to hold the plaintiff up to

scorn, hatred, ridicule or contempt, in the minds of any

considerable and respectable segment in the community,’ would be

considered defamatory, and the imputation of a crime is

defamatory per se, requiring no proof of special damages.”

Phelan, 819 N.E.2d at 553-54 (quoting Stone v. Essex County

Newspapers, Inc., 330 N.E.2d 161, 165-66 (Mass. 1975)).

     While Zaiger’s statement explicitly accuses Monsarrat of

being “‘arrested for hosting a party where underage teenage kids

were drinking alcohol’” on the EDLDF page (Docket Entry # 93-1,

¶¶ 49, 52) (Docket Entry # 107-8),15 Zaiger also provided a link

on the page to a February 9, 2010 Boston Globe article,

“Somerville artist arrested for hosting party where minors found

drinking,” that reported “Jonathan Monsarrat, 41, of 197 Summer

St., was charged with keeping a noisy and disorderly home and

serving liquor to persons under the age of 21.”         (Docket Entry #

107-9) (emphasis added).     The newspaper article refutes the

purportedly defamatory statements (Docket Entry # 93-1, ¶ 52) as



																																																								
              15       The EDLDF page is sufficiently referred to in the
complaint and therefore part of the record. See Claudio-De Leon
v. Sistema Universitario Ana G. Mendez, 775 F.3d at 46 (“we,
like the district court, may consider . . . ‘documents
sufficiently referred to in the complaint’”).	
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false and renders the defamation claim based on the 2017

statements not plausible.16       The article details that:

      Upon arriving at the scene, police found broken beer
      bottles near the door of the first floor of the apartment
      and 25-30 teenagers inside. Many were attempting to
      conceal bottles of beer and other alcoholic beverages, the
      police report states. Open bottles of alcohol were found
      in the kitchen area . . . Monsarrat identified himself as
      the host of the party, but denied that any alcohol was
      being served . . . When asked by an officer to inform his
      guests that the party was ending, Monsarrat became
      argumentative and refused to follow instructions . . .
      Officers asked for identification from several partygoers
      who responded, “We’re in high school, we don’t have ID
      [sic].”

(Docket Entry # 107-9).       The article also states one female who

was “crying hysterically” and “appeared intoxicated and had a

strong odor of alcohol on her breath.”          (Docket Entry # 107-9).

The article elaborates that she was taken to Cambridge Hospital

for evaluation and that Monsarrat “was transported to police

headquarters for booking.”       (Docket Entry # 107-9).

      According to section 92 of Massachusetts General Laws

chapter 231, “[t]he defendant in an action for writing or for

publishing a libel may introduce in evidence the truth of the



																																																								
              16       Monsarrat limits his procedural challenge to the issue
of “the First Amendment status of the parties.” (Docket Entry #
138, p. 8) (citing Docket Entry # 107, p. 12). He therefore
waives other procedural challenges to the 2017-based defamation
claim. See Curet-Velazquez v. ACEMLA de Puerto Rico, Inc., 656
F.3d 47, 54 (1st Cir. 2011) (“[a]rguments alluded to but not
properly developed before a magistrate judge are deemed
waived”); Coons v. Industrial Knife Co., Inc., 620 F.3d 38, 44
(1st Cir. 2010).	
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matter contained in the publication charged as libellous; and

the truth shall be a justification unless actual malice is

proved.”   Mass. Gen. Laws ch. 231, § 92.       Here, there is no

indication that the Boston Globe article, alleging that he was

charged with a crime, was false.

     Despite Zaiger’s communication being truthful, Monsarrat’s

MAAC adding the counterclaim for defamation could still be

allowed if it is plausible that Zaiger communicated the

statements with actual malice.      Mass. Gen. Laws ch. 231, § 92.

“Actual malice exists where the defendant publishes the

defamatory communication with knowledge that it was false or

with reckless disregard for whether it was false or not.”

McAvoy v. Shufrin, 518 N.E.2d 513, 517-18 (Mass. 1988); see

McKee v. Cosby, 236 F. Supp. 3d 427, 442 (D. Mass. 2017).           The

relevant inquiry is “whether the defendant subjectively had

knowledge of falsity or ‘in fact entertained serious doubts as

to the truth of his publication.’”       McAvoy v. Shufrin, 518

N.E.2d at 518 (quoting Stone, 330 N.E.2d at 173).         “[M]alice is

not a matter that requires particularity in pleading—like other

states of mind, it ‘may be alleged generally.’”         Schatz v.

Republican State Leadership Comm., 669 F.3d 50, 58 (1st Cir.

2012).   In order “to allege a plausible claim of ‘actual

malice,’ the complaint must ‘lay out enough facts from which



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malice might reasonably be inferred.’”           Ayyadurai, 270 F. Supp.

3d at 366 (quoting Schatz, 669 F.3d at 58).

      Here, the record fails to suggest that Monsarrat was not

charged with serving alcohol to minors, nor does it sufficiently

allege with enough facts or reasonable inferences that Zaiger

would have any reason to believe the statement was false.               To

the contrary, the February 9, 2010 Boston Globe article linked

under Zaiger’s statement evidences that Monsarrat was in fact

charged and arrested for the sale, delivery, or furnishing of

alcoholic beverages to persons under 21 years of age after

hosting a party where minors were found drinking.17             The proposed

counterclaim is therefore futile.

                                 CONCLUSION

      In accordance with the foregoing discussion, this court

RECOMMENDS18 that Monsarrat’s cross-motion for judgment on the

pleadings (Docket Entry # 90) be ALLOWED and Zaiger’s



																																																								
              17       Because this court finds Zaiger’s statement to be true
and that he lacked actual malice for purposes of the Rule 15
motion, it is not necessary to determine the procedural and
substantive challenge Monsarrat makes against the First
Amendment status of the parties (Docket Entry # 138, pp. 8-9).
              18       Any objections to this Report and Recommendation must be
filed with the Clerk of Court within 14 days of receipt of the
Report and Recommendation to which objection is made and the
basis for such objection should be included. See Fed. R. Civ.
P. 72(b). Any party may respond to another party’s objections
within 14 days after service of the objections. Failure to file
objections within the specified time waives the right to appeal
the order.
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counterclaim DISMISSED; Monsarrat’s motion to amend his answer

to counterclaim by adding a counterclaim (Docket Entry # 93) is

DENIED.   In light of the recommendation to allow Monsarrat’s

cross-motion for judgment on the pleadings, Monsarrat’s motion

to strike Zaiger’s opposition to the motion for judgment on the

pleadings (Docket Entry # 104) is MOOT.


                                   /s/ Marianne B. Bowler
                                  MARIANNE B. BOWLER
                                  United States Magistrate Judge




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